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Christy Leanne Callahan
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                                                                                    U.S. DISTRICT COURT
PO Box 461
                                                                                      BRURSWiCli DIV:        *
 Waycross, GA 31502-0461
(912)388-1898                                                                       mi JAN 2 I A 10: I s

                           IN UNITED STATES DISTRICT COURT                       CLERK
                                                                                       SO
                              FOR THE DISTRICT OF GEORGIA


 Christy Leanne Callahan,
                          Plaintiff,                    CASE NUMBER:        CV522-005
 V.



 Texas Department of Child Protection,
 The State of Texas,
                                                        CIVIL RIGHTS COMPLAINT
 David Shearer,

 Wendy Shearer
                          Defendant(s).



                                             Jurisdiction

         This Court has jurisdiction over this matter pursuant to Americans with Disabilities Act
(ADA); United States Constitution 14th Amendment, Due Process Clause §§ 42 U.S. Code § 1983,
42 U.S.C. § 12101. U.S. Const, amend. XIV, § 2. The Plaintiff is a resident of Waycross, Ware
County, GA,and a citizen ofthe United States. The Defendants are the Texas Department of Child
Protection and the State of Texas; Defendant David Shearer is a citizen of Texas, 1106 Van Zandt
County Rd. 4310, Ben Wheeler, TX 75754, 1(903)804-9895, trainerdms@yahoo.com; Defendant
Wendy Shearer is a citizen of Texas, 1106 Van Zandt County Rd. 4310, Ben Wheeler, TX 75754,
1(903)804-9896, wsl 10610@yahoo.com.

         The Court has jurisdiction as there is diversity of citizenship between the parties.

                                              Complaint
         l.The Plaintiff is a victim of discrimination against a disabled person by the Texas
Department of Family and Protective Services(DPPS), protected against discrimination receiving
government services by federal law under the Americans with Disabilities Act(ADA)42 U.S.C. §
12101.




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       11. The Plaintiffs civil and due process rights have been grossly violated by the Defendants,
federal rights guaranteed under U.S. Const, amend. XIV, § 2, and such civil and due process
violations ofthe Plaintiffs federal rights alienated the Plaintifffrom her federally guaranteed rights
of association with her own minor children. The children are:

           N.R.S., DOB 9/XX/2006

           I.M.S., DOB 3/XX/2009

           A.M.S., DOB 2/XX/2012

       12. The Plaintiff has a mental disability of bipolar disorder, and is protected against
discrimination with government services under the Americans with Disabilities Act. Disabled
adults with bipolar disorder sometimes become symptomatic of their diagnosis and have manic
episodes. A manic episode is a medical condition that individuals with this disability seek medical
treatment for. Individuals who have these symptoms are not automatically incompetent to parent,
nor is the presentation of a manic episode evidence of risk ofchild abuse or harm.

       2. In 2013,the Plaintiff suffered grotesque trauma with the death of her baby. The baby had
anencephaly and was stillborn on October 4, 2013. The Plaintiff was diagnosed with her mental
disability during that pregnancy, due to her child's diagnosis of anencephaly in utero.

       5. The Plaintiff was diagnosed and treated for the disability during that tragic pregnancy by
Lauren Guen,CNM,of Lone Star Midwives. As a mandatory reporter ofsuspected child abuse and
neglect under Texas law, Ms. Guen did not find any deficiencies or risks in parenting this mental
disability might cause her three minor children.

       6. The minor children had a pediatrician at that time. Dr. Olutola Adetona of Practical
Approach Pediatrics and Pediatric Dentistry. As a mandatory reporter under of child abuse and
neglect under Texas law. Dr. Adetona did not evaluate the Plaintiff as an unfit mother in 2013, or
any time prior or after, nor did this mandatory reporter suspect any abuse or neglect ofthe Plaintiffs
minor children by the Plaintiff.

       7. During the Plaintiffs divorce proceedings in the summer of 2013, while she was
symptomatic of her disability, the Plaintiffs husband of that divorce, Aaron Michael Shearer,
moved back into the Plaintiffs residence.




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       8. A report was made to the Texas Department of Family and Protective Services(DFPS),
and child abuse or neglect was unsubstantiated, and the Plaintiff was vetted as a fit parent to her
minor children on December 17, 2013.

       9. The Plaintiff was required to remove Aaron Michael Shearer from her residence as a
condition for the Texas Department ofFamily and Protective Services(DFPS)to end involvement
with the Plaintiff's family. Aaron Michael Shearer was considered a risk to the Plaintiff and her
children during that investigation into the Plaintiff's family by DFPS,The Plaintiff is a survivor of
domestic abuse from that marriage.

        10. On December 28, 2013, the Plaintiff was highly symptomatic of her newly diagnosed
mental disability and was admitted to Baptist Medical Center in downtown San Antonio for
emergency treatment. During this medical treatment for the Plaintiffs disability in December 2013,
DFPS became involved with the family and initiated a dependency with the Plaintiffs minor
children and took temporary custody.

        13. The Plaintiff has photographic evidence showing the residence to be clean, and the
children well-groomed and properly cared for, at the time of the Plaintiffs hospitalization on
December 28, 2013.

        14. The Plaintiff was vetted as a safe and fit parent prior to her hospitalization. An
emergency hospitalization for a medical condition is not the basis for terminating a parent's
federally guaranteed rights of association with their children.

        15. No substantive evidence existed in January 2014 to justify a removal of the children
permanently from the Plaintiffs care, and the dependency that ensued was based on the Plaintiffs
disability and is, therefore, discrimination against a person with disabilities, protected against
discrimination under the Americans with Disabilities Act.

        16. Although the Plaintiff was vetted as a safe and fit parent on December 17,2013,and no
suspicions of neglect was reported by the Plaintiffs nurse-midwife, obstetrician, nor the
pediatrician for the Plaintiffs children, a safety placement ofthe Plaintiffs children was made, at
the Family Team Meeting on January 8, 2014. The children were removed from the Plaintiff and
placed with the father and stepmother of her ex-husband, the family of the man who perpetrated
domestic abuse against the Plaintiff, David and Wendy Shearer.



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       17. The Plaintiffs children reported verbal and physical abuse by Aaron Michael Shearer,
the ex-husband, at the time of the DFPS investigation in 2014. The children were placed with the
family of her domestic abuser.

       18. In a February 22, 2014, temporary order, a conservatorship was created, giving the
family of the Plaintiffs ex-husband, Aaron Michael Shearer, custodial rights to the Plaintiffs
children, in light ofthe placement by DFPS.

       19. The Plaintiff contends the conservatorship created on February 22, 2014, was done
under duress, while she was symptomatic of her disability. The Plaintiff further contends that had
she been provided with a special accommodation to assist during those proceedings, her federally
guaranteed rights of association with her children would not have been abridged by DFPS and her
ex-husband's family in these matters.

       20. The Plaintiff is motioning the Supreme Court of Texas to vacate the conservatorship in
2014 as the Plaintiff was under duress and symptomatic of her psychiatric disability and not in
sound mind and body during those proceedings.

       21. The Plaintiff suffers from a psychiatric disability, and she was acutely symptomatic of
her disability during these proceedings. The Plaintiff contends that her psychiatric disability is
different from other disabilities protected under the ADA.Individuals suffering acute symptoms of
a mental disability are not in a sound state of mind to request special accommodations and
oftentimes, due to their specific disability, cognitively unaware such rights exist for requesting
protections under the ADA,due to their disability symptoms of acute mental illness.

       22. The Plaintiff contends that due to the nature of her disability as a psychiatric condition,
which she was acutely symptomatic from in 2014,the Defendants, as social workers representing
the Texas Department of Family and Protective Services, should have offered the Plaintiffa special
accommodation afforded under the ADA,and the Defendants, as social workers breached a duty of
care to the Defendant,by not informing or offering the Plaintiffthose rights as a disabled respondent
in a dependency action with a government agency. The Defendant's refusal to disclose the ADA
rights ofthe Plaintiff in obtaining a special accommodation during these proceedings is a violation
of the PlaintifTs due process and civil rights, a disabled respondent in those matters, mentally
unaware and unable to understand such ADA protections were available at the onset of these
proceedings.


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       23. The Plaintiffs children have never reported any neglect,abuse,or maltreatment by their
mother. There has never been evidence produced by the Defendants to justify the separation ofthe
Plaintiffand her children for the past eight years. Therefore,the dependency is non-evidentiaiy and
a violation ofthe Plaintiffs civil rights.

       24. The dependency was non-evidentiary, as no threshold of abuse or neglect was met by
the Defendants to justify a severance of her federally guaranteed parental rights, or an alienation of
the Plaintifffrom her own children. The Plaintiffcontends this non-evidentiary dependency is based
on her disability, and she has been discriminated because ofthat diagnosis, and therefore a victim
of discrimination by the Defendants, a government agency.

       25. The Plaintiffs children are now adolescents and wish to live with their mother, a
reinstatement of the Plaintiff's federally guaranteed parent-child relationship, and the Plaintiffs
federally guaranteed rights to associate with her own children, and her children's rights of
association with their own mother. The conduct by the Defendants violated the Plaintiffs rights of
association with her offspring.

       26. The Plaintiff does not have a parental relationship with her minor children, and the
family of her ex-husband, David and Wendy Shearer, are denying access. This interference with
the Plaintiffs rights to associate with her children is continuing to be perpetrated by the Defendants,
and the Defendants violations of the Plaintiff's civil and due process rights precipitated the 2014
conservatorship that alienated the Plaintifffrom her minor children.

       27. Wendy Shearer, a present Joint Managing Conservator for the Plaintiffs children in this
dependency, is a childless woman who has interfered with the Plaintiffs association with her
children, with the intent of depriving the Plaintiff of her federally guaranteed parent-child
relationship, and converting that parent-child relationship as her own.

       28. The Plaintiff is a survivor of domestic abuse from her marriage with Aaron Michael
Shearer. The Plaintiffs children are in the custody of David and Wendy Shearer, the family ofthe
man who perpetrated domestic abuse upon the Plaintiff.

       29. The Plaintiff is a survivor of a lifetime of narcissistic abuse by her mother, Marilyn
Draper. The narcissistic abuse perpetrated by Marilyn Draper is documented in the Plaintiffs




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behavioral health records and date back to her early childhood, and that abuse continues with this
present conservatorship and dependency ofthe Plaintiffs minor children.

       30. Marilyn Draper injected herself into the DFPS dependency and conservatorship,
continuing a lifetime of narcissistic abuse with impeachable testimony regarding the Plaintiff as a
fit parent, contradicting the medical reports of the Plaintiff as a fit and safe parent, and the non-
evidentiary pleadings by the Defendants, where no evidence has ever been produced showing the
Plaintiff as an abusive or neglectful parent to her minor children.

       31. In a motion to the Court dated May 7,2019, David and Wendy Shearer and Marilyn and
Glen Draper gave testimony, with the same terminology, that the Plaintiffs association with her
children "will significantly impair their (the Plaintiffs children) physical health and emotional
wellbeing." The exact terminology from all four statements is evidence of mutually contrived
testimony,testimony that does not reflect the fact that no evidence has ever been produced showing
the Plaintiff had ever abused or neglected her children, and such testimony was perpetrated by a
family with a past history of abuse against the Plaintiff, and the Plaintiffs mother who perpetrated
a lifetime of narcissistic abuse upon the Plaintiff, and was given to the Court in order to violate the
Plaintiffs federally guaranteed rights of association with her own children.

       32. On a report to the Court on August 12, 2019, it was reported that the Plaintiffs doctor
noted,"I have no concerns about her(the Plaintiffs)ability to care for her own children." However,
in a documented instance of discrimination against a person with Plaintiffs disability, the
discriminatory report to the Court included terminology, which was the basis to deny unsupervised
visitation to the Plaintiff, that people with bipolar disorder "can display unpredictable anger
outbursts, moodiness, and impulse control problems resulting in poor judgment or choices." This
report submitted to the Court was the production of a discriminatory pleading by the Defendants,
implying people with the Plaintiffs disability pose a safety risk to their children, which is a
generalization that cannot be made to parents with the Plaintiffs disability. This stereotyped
discriminatory pleadings prejudiced the Court to dismiss the Plaintiffs motion for unsupervised
visitation with her children, this violated the Plaintiffs federally guaranteed rights of association
with her children, and the Defendants' use of discriminatory pleadings with a report regarding the
Plaintiffs disability as a condition to bar her rights ofunsupervised visitation with her own children.




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is a violation of the PlaintifPs civil rights and a violation of her ADA protected rights against
discrimination by a government agency.

       33. In a medical record dated February 12, 2019, the Plaintiffs physician. Dr. Harper, who
has treated the Plaintiff for her disability since 2015, affirmed the Plaintiffs fitness to parent her
children, with no barriers posed by her disability: "Patient comes in for follow up of Bipolar
disorder. Stable with current medications. Very stable, no mood swings. Thought process logical
and goal directed. Good insight and judgment. Ms Callahan is very well controlled and stable with
current therapy. I have treated her since June of 2015.1 have no concerns about her ability to care
for her children."

       34. The report submitted to the Court on August 12, 2019, was discriminatory and
contradicted the physician's assessment ofthe Plaintiffs fitness to parent. The Defendants plead to
that Court that parents who have bipolar disorder have the risk of abusing their children, which is
non-evidentiary, an untrue risk of abuse generalized to all parents who have the Plaintiffs
disability, and the discriminatory report was used to violate the Plaintiffs federally guaranteed
rights of association with her children. The Court ruled not to allow unsupervised visitation for the
Plaintiff based on her disability.

       35. The Plaintiffs rights were violated by the Defendants on November 10, 2020, and she
was discriminated as a disabled person, as the pleadings for unsupervised visitation with the
Plaintiff and her children was denied, based on her status as a disabled person with a diagnosis of
bipolar disorder. People with a psychiatric disability are not by definition abusers ofchildren when
symptomatic oftheir disability, and the Defendants conduct in pleadings, prejudiced the Court that
her disability could pose a risk ofharm and abuse,as a basis to interfere with the Plaintiffs federally
guaranteed rights of association with her children, is evidence of discrimination against a person
with disabilities, prohibited under the ADA.

       36. The Defendants violated the PlaintilTs parenting rights to her minor children by
refusing to provide medical treatment for her son who is diagnosed with Attention-Deficit
Hyperactivity Disorder(ADHD). The failure by the Defendants to follow the parenting directions
ofthe Plaintiff caused the injuries of her son's education, as the child was held back a grade by the
Defendants refusal for the evaluation and treatment of his ADHD. The Plaintiff contends this is




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evidence of child neglect by the Defendants interference with the Plaintiffs parenting rights to get
a required medical treatment for her son who has a diagnosis of ADHD.

       37. The conservatorship and the dependency litigated by the Defendants has lasted eight
years. There has never been any evidence produced by the Defendants that the Plaintiff has ever
been abusive, neglectful, or unfit to parent her children. This non-evidentiary intrusion of the
Plaintiffs parenting rights based on her ADA protected disability is discrimination, and a violation
ofa parent's federally guaranteed rights ofassociation with their own children, without government
interference and intrusion.


                                             Demand

        As a result ofthese several violations ofthe Plaintiffs federally guaranteed due process and
civil rights perpetrated by the Defendants, and for the discrimination against a disabled person in
government services, protected by the Americans with Disabilities Act(ADA),the Plaintiff prays
for the following relief.

       38. On January 13, 2022, the Plaintiff filed complaint reports with the United States
Department of Justice (DOJ), Civil Rights Division, for these several violations of the Plaintiffs
due process and civil rights, and for discrimination by a government agency, prohibited under the
Americans with Disabilities Act. DOJ civil rights complaint reports 129008-WXB, 129010-BJT,
129011-QXG, 129013-WPM, 129016-LBP and 129020-NJF.

       39. Monetary damages for violations of the Plaintiffs due process and civil rights, with
discriminatory pleadings and evidence of discrimination of the Plaintiff based on her disability,
during the eight years of this dependency with the Plaintiff and her minor children, robbing the
parent of her natural association her own children, the Plaintiff prays for $1,800,000.00 in damages
for these injuries caused by the Defendants' violations of her federal rights;

       40. Tortuous interference with parental rights, tortuous interference with parental visitation,
alienation of affections, and intentional infliction of emotional distress upon an individual with a
mental disability, the Plaintiff prays for $780,000.00 in damages;

       41. The Defendants perpetrated these several violations of due process and civil rights
against a highly documented survivor of domestic abuse,the Defendants conduct is discrimination,
against a disabled person in receipt of government services, protected under the Americans with



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Disabilities Act(ADA), evaluated as a fit and competent parent and vetted as such by the Texas
Department of Family and Protective Services immediately prior to the Plaintiffs removal of her
children from her care in 2014, and this tortuous and intentional conduct by the Defendants have
caused severe injuries to the Plaintiff and her children, and such injuries are expected to last a life
time. Due to the egregious nature of this case and the violations to a woman with this documented
history, eight years of lost association of the Plaintiff with her children by these overt acts, the
Plaintiff prays to the Court for punitive damages in the amount of$2,100,000.00;

        42. For compensatory and general damages in an amount according to proof;

        43. For past and future psychiatric, behavioral health, and counseling services to the
Plaintiff and her minor children due to the psychological damages the Defendants caused the
Plaintiff and her family as a result of the Defendants' behaviors and violations of the Plaintiffs
federal civil and due process rights;

        44. For pre- and post-judgment interest on all damages as allowed by the law;

        45. For costs of suit incurred herein;

        46. For attorney fees under existing law;

        47. For such other and further relief as the Court may deem just and proper.

        48. Further, if it is within the jurisdiction and scope of this Court, the Plaintiff prays for a
judgement vacating the Joint Managing Conservatorship of Defendants David and Wendy Shearer,
and the Plaintiffs children be immediately and without condition, returned to the care and security
of the Plaintiff.

        49. $41,324.00 in legal fees incurred by the Plaintiff in defending this non-evidentiary
dependency since 2014.

        50. The total amount prayed to the Court for is $4,721,324.00. The Plaintiff wants a trial by
jury.

                                        Damages: $4,721324,00

This amount ofdamages are outlined in this complaint with the Plaintiffs prayer for relief, and are
based on the injuries and damages from eight years of alienation of the Plaintiffs affections with
her children, intentional infliction of emotional distress on a disabled person and a survivor on


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domestic and narcissistic abuse, injuries caused by the civil and due process violations that
interfered with the Plaintiffs rights of association with her own children, and discrimination of a
person with a disability, protected under the Americans with Disabilities Act. The damages all stem
from eight years of alienation the Defendant's conduct caused with the parent-child relationship,
and severe psychological injuries these civil and due process right violations caused to the Plaintiff
and her person. The Plaintiff wants a trial by jury.



Date:     \A^ [iZo'X'L.                       Signature ofPro Se Plaintiff

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                                               Waycross, GA 31502-0461
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